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                      UNITED STATES COURT OF APPEALS
                                                                      FILED
                             FOR THE NINTH CIRCUIT
                                                                      APR 21 2022
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS




   MARCUS GRAY, PKA Flame; et al.,               No. 20-55401

                 Plaintiffs - Appellants,
                                                 D.C. No. 2:15-cv-05642-CAS-JC
     v.                                          U.S. District Court for Central
                                                 California, Los Angeles
   KATHERYN ELIZABETH HUDSON,
   PKA Katy Perry; et al.,                       MANDATE

                 Defendants - Appellees.


          The judgment of this Court, entered March 10, 2022, takes effect this date.

          This constitutes the formal mandate of this Court issued pursuant to Rule

  41(a) of the Federal Rules of Appellate Procedure.

          Costs are taxed against the appellant in the amount of $673.50.

                                                 FOR THE COURT:

                                                 MOLLY C. DWYER
                                                 CLERK OF COURT

                                                 By: David J. Vignol
                                                 Deputy Clerk
                                                 Ninth Circuit Rule 27-7
